      Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 1 of 28




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

    In Re: Oil Spill by the Oil Rig                   *            MDL 2179
    “Deepwater Horizon” in the Gulf
    of Mexico, on April 20, 2010                      *            SECTION: J(2)

    Applies to:                                       *            JUDGE BARBIER
    Certain Cases in the B1 Bundle
    (See Exhibit A)                                   *            MAG. JUDGE CURRAULT


                                    ORDER & REASONS
                        [As to the Claims of the Mexican Plaintiffs]

          Before the Court are BP’s Dispositive Motion as to the Claims of Mexican

Plaintiffs (Rec. Doc. 25477), plaintiffs’ oppositions (Rec. Docs. 25515, 25523, 25533),

and BP’s reply (Rec. Doc. 25591).1 The motion targets 115 cases brought by Mexican

residents (collectively, the “Mexican Plaintiffs”) who seek damages under the Oil

Pollution Act of 1990 (“OPA”) 33 U.S.C. §§ 2701, et seq., and general maritime law

for     economic      losses    they    allegedly     incurred     due    to    the     DEEPWATER

HORIZON/Macondo Well oil spill in the Gulf of Mexico. BP’s primary arguments are

(1) the Mexican Plaintiffs’ cannot satisfy certain requirements OPA imposes on

“foreign claimants,” see 33 U.S.C. § 2707(a), and (2) OPA displaced the Mexican

Plaintiffs’ claims under general maritime law. The Court heard oral argument on

September 9, 2020. (Minute Entry, Rec. Doc. 26667; Transcript, Rec. Doc. 26701).

Having considered the parties’ arguments, the applicable law, and the relevant

record, the Court grants BP’s motion and dismisses with prejudice the Mexican

Plaintiffs’ claims for the reasons set out below.




1   Halliburton Energy Services, Inc. joins in BP’s motion. (Rec. Docs 25507, 25506).
   Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 2 of 28




                                    BACKGROUND

        On April 20, 2010, a blowout, explosions, and fire occurred aboard the semi-

submersible drilling rig DEEPWATER HORIZON as it was preparing to temporarily

abandon a well, known as Macondo, it had recently drilled some 50 miles off the

Louisiana coast. These events resulted in 11 deaths, multiple injuries, the loss of the

DEEPWATER HORIZON, and a massive oil spill in the Gulf of Mexico. BP, which

owned a majority interest in both the Macondo Well and the lease of the relevant

block of the outer continental shelf, is a “responsible party” for the oil spill under

OPA. (See Order of Feb. 22, 2012 at 5-15, Rec. Doc. 5809). These events gave rise to

thousands of lawsuits, with well over one hundred thousand plaintiffs, against BP

and other parties. On August 10, 2010, the Judicial Panel on Multidistrict Litigation

created this multidistrict litigation, MDL 2179, and assigned it to this Court, all

pursuant to 28 U.S.C. § 1407. (Rec. Doc. 1). Nearly all federal cases arising from the

DEEPWATER HORIZON/Macondo Well casualty have been consolidated with MDL

2179.

        To facilitate the administration of this sprawling litigation, the Court

organized the various types of claims into “pleading bundles.” (PTO 11, Rec. Doc. 569).

Relevant here is the “B1” bundle, which contained non-governmental claims for

economic loss and/or property damage. During the first several years of the MDL the

B1 bundle contained more claims than any other pleading bundle. However, after a

massive class settlement in 2012, thousands of individual settlements of opt-out and

excluded claims between 2016 and 2020, several targeted pretrial orders, and

numerous rulings on dispositive motions over the past decade, only around 130 cases
                                          2
    Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 3 of 28




remain in the B1 bundle today.2 The Mexican Plaintiffs account for 115 of the

remaining B1 cases.3

        Seventeen of the Mexican Plaintiffs purport to be commercial fishermen who

fished in Mexican waters around the time of the oil spill. Most of the other Mexican

Plaintiffs are fishing “cooperatives.” As it has been explained to the Court, a

cooperative is a juridical entity under Mexican law that can sue and be sued like any

other business entity. The members of a fishing cooperative are individual fishermen.

Plaintiffs’ counsel explained at oral argument that the cooperative typically owns the

fishing license issued by the Mexican government and the boats used by the

cooperative’s members. A few of the Mexican Plaintiffs are some other type of

cooperative, such as a tourism cooperative. (See, e.g., No. 16-6294).

        The Mexican Plaintiffs allege the oil spill caused a decline in the amount of

fish they caught in Mexican waters. They sued to recover their economic losses from

BP and other defendants under OPA and general maritime law. In Pretrial Order No.

67 (Rec. Doc. 25370), the Court instructed defendants to file any dispositive motions

with respect to the Mexican Plaintiffs’ cases, which prompted the instant motion. As

mentioned, BP’s main arguments are (1) the Mexican Plaintiffs cannot satisfy OPA’s

“foreign claimants” provision, meaning they cannot recover under OPA, and (2) the

Mexican Plaintiffs cannot recover under general maritime law because OPA

displaced those claims. BP also argues that 41 of the Mexican Plaintiffs should be


2 At the time of this writing, there are 958 cases in the MDL, and roughly the same number of plaintiffs.
The vast majority of these concern personal injuries and deaths allegedly due to chemical exposure,
what are known as “B3” claims.
3
  56 of the Mexican Plaintiffs are represented by the Buzbee Law Firm, 41 are represented by Weller,
Green, Toups & Terrell, and 18 are represented by Kuykendall & Associates.
                                                       3
     Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 4 of 28




dismissed for the additional reason that their lawsuits violate this Court’s Pretrial

Order No. 60 (Rec. Doc. 16050), which barred mass joinder complaints. Each of these

issues is discussed below.

                                     DISCUSSION

A.      Mexican Plaintiffs’ Claims Under OPA

        OPA was passed in response to an oil spill by the EXXON VALDEZ in Prince

William Sound, Alaska, in 1989, as well as three other spills that occurred a few

months later in Rhode Island, the Delaware River, and the Houston Ship Channel.

See S. Rep. No. 101-94, at 2-3 (1989), as reprinted in 1990 U.S.C.C.A.N. 722, 723-24.

The Act is broad, and it made many changes to existing laws. See generally P.L. 101-

380, 104 Stat. 484 (1990). One of OPA’s innovations is that it makes statutorily-

defined “responsible parties” strictly liable for removal costs and a wide range of

damages that result from an oil spill. See 33 U.S.C. § 2702(a); In re Settoon Towing,

L.L.C., 859 F.3d 340, 344 (5th Cir. 2017). OPA enumerates six categories of damages

that may be recovered. See 33 U.S.C. § 2702(b)(2). The Mexican Plaintiffs’ claims fall

within subsection (E), which allows recovery of “[d]amages equal to the loss of profits

or impairment of earning capacity due to the injury, destruction, or loss of real

property, personal property, or natural resources, which shall be recoverable by any

claimant.” 33 U.S.C. § 2702(b)(2)(E).

        However, foreign claimants like the Mexican Plaintiffs must satisfy certain

additional requirements before they may recover under OPA. Section 2707 states in

relevant part:



                                          4
      Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 5 of 28




         In addition to satisfying the other requirements of this Act, to recover
         removal costs or damages resulting from an incident a foreign claimant
         shall demonstrate that—
            (A) the claimant has not been otherwise compensated for the removal
                costs or damages; and
            (B) recovery is authorized by a treaty or executive agreement
                between the United States and the claimant’s country, or the
                Secretary of State, in consultation with the Attorney General and
                other appropriate officials, has certified that the claimant’s
                country provides a comparable remedy for United States
                claimants.

    33 U.S.C. § 2707(a)(1).

         There is no dispute that the Mexican Plaintiffs have not been compensated for

    their alleged damages. The Mexican Plaintiffs do not claim that their recovery is

    authorized by an executive agreement between the United States and Mexico, nor

    do they assert that the United States Attorney General has certified that Mexico

    provides a comparable remedy for U.S. claimants. The Mexican Plaintiffs do contend,

    however, that two treaties authorize their recovery under OPA: (1) the United

    States-Mexico-Canada Agreement (“USMCA”) and (2) the North American

    Agreement on Environmental Cooperation (“NAAEC”). BP disputes this.4

         As to the USMCA, that treaty did not enter into force until this year, a decade

    after the DEEPWATER HORIZON/Macondo Well oil spill and several years after

    the Mexican Plaintiffs filed their lawsuits. The Mexican Plaintiffs fail to explain why

    that treaty has any effect on their claims. The Court concludes the USMCA is



4 The Court pauses to note that this is not the first time it has addressed OPA’s “foreign claimants”
requirements in this MDL. In 2011, three Mexican States argued their recovery was authorized by
four treaties, different from the two considered here. In 2018, a fourth Mexican State argued that
Mexico’s General Law of Ecological Balance and Environmental Protection provides a remedy to
United States claimants that is comparable to OPA, although there was no certification from the U.S.
Attorney General saying so. The Court rejected all of these arguments. (Rec. Doc. 4845 at 9-12; Rec.
Doc. 24119 at 3-4). Those decisions were not appealed.
                                                   5
      Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 6 of 28




    irrelevant.5

            The NAAEC, however, was in effect during the relevant time. The NAAEC is

    a “side agreement” to the North American Free Trade Agreement (“NAFTA”). The

    Mexican Plaintiffs rely primarily on Article 6 of the NAAEC, which states in relevant

    part:

            Article 6:    Private Access to Remedies
            ...
            2. Each Party shall ensure that persons with a legally recognized
                interest under its law in a particular matter have appropriate access
                to administrative, quasi-judicial or judicial proceedings for the
                enforcement of the Party's environmental laws and regulations.

            3. Private access to remedies shall include rights, in accordance with
               the Party’s law, such as:
                 (a) to sue another person under that Party’s jurisdiction for
                     damages;
                 (b) to seek sanctions or remedies such as monetary penalties,
                     emergency closures or orders to mitigate the consequences of
                     violations of its environmental laws and regulations;

NAAEC, Can.-Mex.-U.S., Sept. 14, 1993, 32 I.L.M. 1480, 1484.

            Article 6(2) merely states that the United States will ensure that “persons with

a legally recognized interest under [United States] law” will have “appropriate

access to administrative, quasi-judicial or judicial proceedings for the enforcement of

the [United States’] environmental laws.” (emphasis added). The NAAEC does not

itself give the Mexican Plaintiffs a “legally recognized interest” under OPA. Similarly,

while Article 6(3) says, “Private access to remedies shall include rights . . . to sue

another person under that Party’s jurisdiction for damages,” those rights must be


5 Additionally, the language in the USMCA relied upon by the Mexican Plaintiffs is very similar to the
language in the NAAEC. As explained below, the NAAEC does not authorize the Mexican Plaintiffs’
recovery under OPA. Therefore, even if the USMCA somehow did apply retroactively, it would not
satisfy § 2707.
                                                 6
     Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 7 of 28




asserted “in accordance with [United States] law.” NAAEC, at Art. 6(3). Nothing in

United States law allows Mexican residents to sue under OPA. Thus, the NAAEC

stops short of authorizing the Mexican Plaintiffs’ recovery under OPA.

        This conclusion is supported by 19 U.S.C. § 3312(c), which is part of the Act

that implemented NAFTA in the United States.6 That statute states, “No person

other than the United States . . . shall have any cause of action or defense under . . .

the [NAAEC] . . . .” The Court also notes that the Mexican Plaintiffs cite no case

holding that the NAAEC authorizes suit under OPA.

        Because the Mexican Plaintiffs fail to satisfy OPA’s requirements for foreign

claimants, 33 U.S.C. § 2707, their OPA claims must be dismissed.

B.      Mexican Plaintiffs’ Claims Under General Maritime Law

        The Mexican Plaintiffs also seek to recover under general maritime law (i.e.,

judge-made maritime law). Their arguments rely almost entirely on prior decisions

in this MDL where the Court held that OPA did not displace entirely claims for oil

spill-related losses under general maritime law. BP, citing more recent decisions from

the Fifth Circuit, contends that OPA provides the exclusive source of law for matters

governed thereunder; therefore, OPA displaces the Mexican Plaintiffs’ claims under

general maritime law.

        1.     Prior Rulings in MDL 2179 Re: OPA Displacement of Maritime Law

        This is not the first time the Court has addressed the interplay between OPA

and general maritime law. The question first arose in 2011 when the Court



6 Although 19 U.S.C. § 3312(c) was recently repealed, it, like the NAAEC, was in effect at the relevant
time.
                                                  7
    Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 8 of 28




considered motions to dismiss the Master Complaint for the B1 Bundle. (See Rec. Doc.

3830 at 18-27) (“B1 Order”). As recounted in the B1 Order, before OPA’s enactment

in 1990 private persons who suffered oil spill-related losses could bring a tort claim

under general maritime law. Those claims were subject to a number of restrictions,

however. Notably, most plaintiffs would need to show that oil had physically damaged

property in which the plaintiff held a proprietary interest, as general maritime law

bars tort claims for purely economic losses—what is known as the Robins Dry Dock

rule. Some courts, including this one in the B1 Order, recognized a narrow exception

to Robins Dry Dock with respect to commercial fishermen.7 Another hurdle for

maritime claims is the Limitation of Liability Act, under which a vessel owner may

limit her liability to the post-casualty value of the vessel plus any pending freight.

See 46 U.S.C. § 30505.8 Additionally, plaintiffs typically must prove that the

defendant was negligent. See United States v. M/V Big Sam, 681 F.2d 432, 440 (5th

Cir. 1982). However, where there is egregious fault, general maritime law provides

the remedy of punitive damages. See Exxon Shipping Co. v. Baker, 554 U.S. 471, 488-


7 The Mexican Plaintiffs did not suffer a physical injury to a proprietary interest. Their maritime
claims rely entirely on the commercial fishermen exception to the Robins Dry Dock rule.
8 A Senate Report from 1989 described the state of pre-OPA oil pollution law. It explained:



       Finally, the 1851 Limitation of Liability Act represents a potentially devastating bar
       to effective recovery of either cleanup costs or damages. Perhaps that Act had merit
       135 year ago, since its purpose was to further the interests of this country’s budding
       merchant marine by encouraging shipbuilding and employment of ships. To that end,
       vessel owner liability was limited to “the amount or value of the interest of such owner
       in such vessel, and her freight pending.” Current application of that law, however, has
       resulted in situations where the owner pays next to nothing because the vessel and
       cargo are a total loss following a catastrophic incident. In two Federal cases where the
       owner of a vessel has invoked the provisions of this Act, courts have held that this law,
       where applicable, has the effect of limiting recoveries under State law, including
       provisions allowing unlimited liability.

S. Rep. No. 101-94, at 4 (1989), as reprinted in 1989 U.S.C.C.A.N. 722, 725.
                                                    8
    Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 9 of 28




89 (2008).

        OPA removed many of these obstacles to recovery. Neither the Robins Dry

Dock rule nor the Limitation of Liability Act applies to OPA claims. See Settoon

Towing, 859 F.3d at 344-45, 352; Metlife Capital Corp. v. M/V Emily S, 132 F.3d 818,

822 (1st Cir. 1997). Also, an OPA plaintiff will not need to prove negligence in many

instances, because OPA makes a “responsible party” strictly liable unless one of the

limited defenses apply. Settoon Towing, 859 F.3d at 344 & n.3.9 OPA is silent,

however, as to whether a plaintiff may sue a non-responsible party or recover punitive

damages from either a responsible party or non-responsible party.

        In their motions to dismiss the B1 Master Complaint, the defendants argued

that OPA displaced the plaintiffs’ general maritime law claims such that they could

only sue a responsible party and punitive damages were not available. The Court

largely disagreed. As to non-responsible parties, the B1 Order held that plaintiffs who

could have sued these entities under general maritime law before OPA’s enactment

(i.e., plaintiffs who could satisfy the Robins Dry Dock rule or were commercial

fishermen) could still sue these parties after OPA, and they may be entitled to

punitive damages. (B1 Order at 25-27). The Court’s ruling was more nuanced with

respect to responsible parties. The B1 Order held that OPA did not displace the

maritime law remedy of punitive damages, however, all claims against a responsible

party must comply with OPA’s “presentment procedure,” see 33 U.S.C. § 2713

(discussed in Part B.2., below), even if the plaintiff alleged only claims under general


9 The responsible party’s conduct is not entirely irrelevant under OPA, however. For example, OPA
limits the responsible party’s liability to certain amounts unless the plaintiff shows, for example, that
the responsible party was grossly negligent. 33 U.S.C. § 2704(c).
                                                     9
     Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 10 of 28




maritime law. (B1 Order at 25-27). The B1 Order’s conclusions were based on two

then-recent Supreme Court decisions,10 the fact that OPA contains a savings clause

for maritime law, see 33 U.S.C. § 2751(e) (quoted in Part B.2., below), the fact that

these general maritime law claims and remedies pre-existed OPA, and the Court’s

observation that permitting these claims did not appear to frustrate Congress’

remedial scheme (e.g., the same conduct that would justify an award of punitive

damages would also lift OPA’s liability caps, see 33 U.S.C. § 2704(c)).

        Subsequent decisions in the MDL built on the B1 Order. (See, e.g., Rec. Doc.

4578 at 7 (general maritime law claims by states of Louisiana and Alabama not

displaced by OPA)). Notably, the Court held in December 2011 that three Mexican

States could not recover under OPA because, like the Mexican Plaintiffs here, they

could not satisfy OPA’s “foreign claimants” requirements. (Rec. Doc. 4845).

Nevertheless, the Court went on to hold that the Mexican States may have viable

claims under general maritime law if they met the Robins Dry Dock rule.11

        2.     Intervening Decisions by the Fifth Circuit Re: OPA Displacement of
               Maritime Law

        In the years following the B1 Order, the Fifth Circuit issued two decisions that

addressed whether OPA displaced general maritime law: United States v. American



10
   See Baker, 554 U.S. at 488-89 (holding that the Clean Water Act did not displace the maritime
remedy of punitive damages in a pre-OPA oil pollution case); Atlantic Sounding Co. v. Townsend, 557
U.S. 404 (2009) (holding that that the Jones Act did not displace the maritime remedy of punitive
damages in a maintenance and cure claim).
11
   The Court subsequently determined on summary judgment that the Mexican States did not, in fact,
hold the requisite proprietary interest in physically damaged property, and dismissed their maritime
tort claims. (Rec. Doc. 11281). The Fifth Circuit affirmed on the grounds that the Mexican States did
not satisfy the Robins Dry Dock rule. In re Deepwater Horizon, 784 F.3d 1019, 1030-32 (5th Cir. 2015).
The Circuit explicitly declined to reach the issue of whether OPA displaced general maritime law. Id.
at 1023 n.3.
                                                   10
  Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 11 of 28




Commercial Lines, LLC, 759 F.3d 420 (5th Cir. 2014) [hereinafter ACL] and In Re:

Settoon Towing, L.L.C., 859 F.3d 340 (5th Cir. 2017).

      In ACL, companies that had performed oil spill cleanup work presented claims

for payment to the designated responsible party in accordance with § 2713 of OPA.

That section requires claimants to first present their claims to the responsible party

for payment, but if the responsible party does not pay within 90 days, the claimant

may elect to sue the responsible party in court or present the claim to the Oil Spill

Liability Trust Fund (“the Fund”), a federal fund established by OPA and

administered by the Coast Guard. ACL, 759 F.3d at 422-23 (citing 33 U.S.C. § 2713).

When the Fund pays a claim, it subrogates to the claimant’s rights and can recoup

the payment from other entities, including the responsible party. Id. at 423 (citing 33

U.S.C. § 2712(f)). The responsible party in ACL did not pay the cleanup companies’

entire bill, and they elected to submit the balance of their claim to the Fund. Id. The

Coast Guard paid additional sums to the cleanup companies from the Fund and then

sued to recover those amounts from the responsible party. Id. The responsible party

responded by asserting third-party claims against the cleanup companies, joining

them in the Coast Guard’s suit against the responsible party. Id. at 423-24. The

district court dismissed the responsible party’s claims against the cleanup parties,

concluding that OPA displaced the responsible party’s claims under general maritime

law. Id. The Fifth Circuit affirmed.

      With respect to OPA’s displacement of general maritime law, ACL stated:

      . . . [I]n enacting OPA, Congress intended to build upon the Clean Water
      Act to create a single Federal law providing cleanup authority,
      penalties, and liability for oil pollution. . . . OPA prescribes a
                                          11
  Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 12 of 28




      supplemental, comprehensive federal plan for handling oil spill
      responses, allocating responsibility among participants, and prescribing
      reimbursement for cleanup costs and injuries to third parties.

      More generally, when Congress enacts a carefully calibrated liability
      scheme with respect to specific remedies, “the structure of the remedies
      suggests that Congress intended for th[e] statutory remedies to be
      exclusive.” United States v. M/V BIG SAM, 681 F.2d 432, 441 (5th
      Cir.1982) . . . . Indeed, “we are to conclude that federal common
      law has been preempted as to every question to which the
      legislative scheme spoke directly, and every problem that
      Congress has addressed.” Id. at 442 . . . . As found by the district
      court, “OPA directly speaks to the claims asserted by ACL.” Hence
      we hold that this “balanced and comprehensive remedial scheme”
      provides the exclusive remedy for a claimant to recover statutory
      removal costs from a responsible party and forecloses a responsible
      party from bringing a third-party complaint against a spill responder
      that has chosen to submit claims to the Fund after 90 days without
      payment.

      . . . Nothing in OPA authorizes a responsible party to bring a third-party
      complaint against a claimant that has chosen, under § 2713(c)(2), to
      submit claims to the Fund after 90 days without payment. . . .

Id. at 424-25 (some citations omitted; emphasis added).

      ACL further explained that OPA’s savings clause did not preserve the

responsible party’s claims against the cleanup companies. That clause states, “Except

as otherwise provided in this Act, this Act does not affect—(1) admiralty and

maritime law . . . .” 33 U.S.C. § 2751(e). ACL reasoned:

      The savings clause here begins “except as otherwise provided.” OPA
      provides a procedure for submission, consideration, and payment of
      cleanup expenses by the Fund when the responsible party fails to settle
      such claims within 90 days—the situation presented here. As OPA did
      “otherwise provide[ ],” ACL’s claims against [the cleanup
      companies] for return of payments made by the Fund under OPA
      cannot be saved by this clause. To interpret § 2751(e) as ACL
      proposes would be to supersede OPA, and courts cannot, without any
      textual warrant, expand the operation of savings clauses to modify the
      scope of displacement under OPA.

                                          12
     Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 13 of 28




759 F.3d at 424-26 (citation omitted; emphasis added).

        Settoon Towing, which concerned a responsible party’s claim for contribution

under § 270912 against a partially at-fault non-responsible party, echoed some of the

themes from ACL. See In re: Settoon Towing, 859 F.3d at 351. Notably, the court

explained that the phrase “except as otherwise provided in this Act” in OPA’s saving

clause “shows that the admiralty claims that are preserved are those that are not

addressed in the OPA.” Id. (emphasis added).

        3.    Under ACL and Settoon Towing, the Mexican Plaintiffs’ Claims Under
              General Maritime Law Are Displaced by OPA

        In their briefing and at oral argument, the Mexican Plaintiffs had virtually no

response to ACL and Settoon Towing. In light of the reasoning in those cases, the

Court is bound to conclude that OPA has displaced the Mexican Plaintiffs’ claims

under general maritime law.13 OPA clearly “addressed” in § 2707(a) foreign

claimants’ claims for economic losses due to an oil spill; therefore, those claims are

not preserved by OPA’s savings clause. See Settoon Towing, 859 F.3d at 351. Or, to

use ACL’s language, “[a]s OPA did ‘otherwise provide[ ]’” how foreign claimants like

the Mexican Plaintiffs may recover, their claims under general maritime law “cannot

be saved by” § 2751(e). ACL, 759 F.3d at 426. Accordingly, the Mexican Plaintiffs’

claims under general maritime law must be dismissed. Furthermore, because they

have no remaining claims, all 115 cases by the Mexican Plaintiffs will be dismissed.

        Nevertheless, the Court questions certain aspects of the ACL and Settoon


12 “A person may bring a civil action for contribution against any other person who is liable or
potentially liable under this Act or another law.” 33 U.S.C. § 2709.
13 Likewise, ACL and Settoon Towing cast substantial doubt on the B1 Order’s conclusion regarding

displacement of general maritime law.
                                                   13
     Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 14 of 28




Towing decisions. Those views are provided in Part D at the end of this Order &

Reasons. Part D is not part of the Court’s holding.

C.      41 of the Mexican Plaintiffs Also Failed to Comply with PTO 60

        Pretrial Order No. 60 (“PTO 60”) issued in March of 2016 and required that all

plaintiffs in the B1 bundle file an individual lawsuit. (Rec. Doc. 16050). In other

words, PTO 60 prohibited the use of multi-plaintiff lawsuits, except in very limited

circumstances. PTO 60 warned that the claims of B1 plaintiffs who failed to comply

would be dismissed with prejudice. In response to PTO 60, the law firm of Weller

Green Toups & Terrell, L.L.P. (“Toups”) filed 41 cases, each consisting of one Mexican

fishing cooperative and its individual members. In June 2016, the Court issued a

show cause order that noted these cases were non-compliant because the plaintiffs

had filed mass-joinder complaints. (Rec. Doc. 18724-4). In response, Toups informed

the Court that it “amended all complaints . . . and limited them to only the one

cooperativa of fishermen in each lawsuit and they have deleted any reference to a list

of other individuals.” (Rec. Doc. 22004 at 9). Toups’ amendments and representations

in its brief prompted BP to withdraw its objection to the Toups’ cases, and the Court

deemed these 41 plaintiffs to be compliant with PTO 60. (Id.)

        In 2018, the Court issued PTO 65, which required B1 plaintiffs to file a verified

statement that described in detail the plaintiff’s damages. (Rec. Doc. 23825). Toups’

clients filed statements reflecting that each cooperative was actually claiming the full

losses allegedly suffered by its individual members, as opposed to the cooperative’s

loss as its own entity. For example, the cooperative in case no. 16-4706 stated that

each of its members suffered an economic loss of $10,867. The cooperative calculated
                                            14
     Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 15 of 28




“its” damages by multiplying this amount by the number of its members (2,137) to

arrive at $23.2 million, and then doubled that amount to account for alleged future

losses. (No. 16-4706, Rec. Doc. 8-2 at 1, Rec. Doc. 8-1 at 2).

        The Court agrees with BP that the 41 cases filed by the Toups “cooperatives”

are, in realty, mass joinders in contravention of PTO 60. This provides an additional

reason to dismiss the 41 Mexican Plaintiffs represented by Toups. See In re Deepwater

Horizon, 713 F. App’x 360 (5th Cir. 2018) (unpublished).

D.      Additional Comments Regarding OPA’s Displacement of General
        Maritime Law

        As stated above in Part B.3., the Fifth Circuit’s decisions in ACL and Settoon

Towing compel the conclusion that the Mexican Plaintiffs’ claims under general

maritime law are displaced by OPA. However, the Court questions parts of the

analysis in those decisions, and expresses those views here. To be clear, nothing in

this Part D changes the holding in Part B.3. The Mexican Plaintiffs’ cases remain

dismissed.

        Whether OPA displaces an aspect of general maritime law boils down to a

question of how to interpret the phrase, “Except as otherwise provided in this Act,”

in OPA’s saving clause, “Except as otherwise provide in this Act, this Act does not

affect . . . admiralty and maritime law . . . .” 33 U.S.C. § 2751(e). ACL and Settoon

Towing interpreted this phrase broadly, and thus read the savings clause narrowly.

As noted, Settoon Towing construed § 2751(e) to mean the maritime claims that are

not displaced “are those that are not addressed in the OPA.” 859 F.3d at 351




                                           15
     Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 16 of 28




(emphasis added). For the reasons below, the Court respectfully believes that this

interpretation is incorrect.

        1.     Congress Made a Deliberate Choice to Include a Maritime Law Savings
               Clause in OPA

        The EXXON VALDEZ oil spill in 1989 propelled both houses of Congress to

draft oil spill legislation. That fall, the Senate produced S. 686, while the House

created H.R. 1465. Although similar in many respects, these bills also contained

significant differences. A conference comprised of select members of both houses

convened over the summer in 1990 to attempt to resolve these differences. The

conferees created a compromise bill that adopted some aspects from the House bill

and some aspects from the Senate bill. This compromise bill (also known as the

conference substitute) was later enacted as Public Law No. 101-380, the Oil Pollution

Act of 1990.

        The conferees’ work is documented in a report dated August 1, 1990. See H.R.

Rep. No. 101-653 (1990) (Conf. Rep.) [hereinafter “Conf. Rep.”], as reprinted in 1990

U.S.C.C.A.N. 779.14 It explains “[t]he differences between the House bill, the Senate

amendment [i.e., S. 686], and the substitute agreed to in conference.” Id. at 101, 1990

U.S.C.C.A.N. at 779. Notably, the Senate’s bill did not include a saving clause for

maritime law, while the House’s bill did. Id. at 159, 1990 U.S.C.C.A.N. at 838. The

conferees—and ultimately Congress—decided to include the savings clause. Id. Thus,




14Note that the Fifth Circuit has looked to legislative history, and conference reports in particular,
when interpreting oil spill legislation. See, e.g., Settoon Towing, 859 F.3d at 352; M/V Big Sam, 681
F.2d at 439 & n.13, 442-43 & n.14 (interpreting 33 U.S.C. § 1321).
                                                     16
  Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 17 of 28




when faced with a choice between including or omitting a savings clause for maritime

law, Congress chose to include a savings clause in OPA.

      2.     The Conference Report Explains How the Savings Clause Should Be
             Interpreted

      The savings clause in the House bill stated simply, “This Act does not affect –

(1) admiralty and maritime law . . . .” See H.R. 1465, 101st Cong. § 6002 (engrossed

in House Nov. 9, 1989). The conferees added “except as otherwise provided” to the

beginning of the saving clause. See Conf. Rep. at 159, 1990 U.S.C.C.A.N. at 838. The

Conference Report explains how the conferees intended this phrase to be interpreted:

      Section 6001 of the House bill clarifies that the House bill does not affect
      admiralty and maritime law . . . .

      The Conference substitute adopts the House provision with respect to
      admiralty and maritime laws with an amendment clarifying that the
      provision was subject to the provisions of the substitute. Section 1002 of
      the Conference substitute [now codified at 33 U.S.C. § 2702] establishes
      liability notwithstanding any other provision or rule of law, including
      the Act of March 3, 1851 [the Limitation of Liability Act, 46 U.S.C. §§
      30501-12]. Therefore, there is no change in current law unless
      there is a specific provision to the contrary.

Id. (emphasis added). In contrast to the interpretations applied in ACL and Settoon

Towing, the conferees intended “except as otherwise provided” to be interpreted

narrowly—existing maritime law is only displaced or superseded when OPA contains

a “specific provision to the contrary.”

      The passage above also provides an example of an area of maritime law that

would not be preserved by the savings clause: the Limitation of Liability Act. In

providing this example, the Conference Report references OPA’s “Elements of

Liability,” § 2702, creating an interpretative bridge between that section and §

                                          17
      Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 18 of 28




2751(e). Section 2702 states, in pertinent part, “Notwithstanding any other provision

or rule of law, and subject to the provisions of this Act, each responsible party . . . is

liable for the removal costs and damages specified in subsection (b) of this section

that result from such incident.” 33 U.S.C. § 2702(a). When the Conference Report

discusses § 2702, it provides a second example of an aspect of maritime law that would

not be preserved by the savings clause, the Robins Dry Dock rule:

          Liability under this Act is established notwithstanding any other
          provision or rule of the law. This means that the liability provisions of
          this Act would govern compensation for removal costs and damages
          notwithstanding any limitations under existing statutes such as the
          [Limitation of Liability Act], or under existing requirements that
          physical damage to the proprietary interest of the claimant be shown.

Conf. Rep. at 103, 1990 U.S.C.C.A.N. at 781.

          The Limitation of Liability Act and the Robins Dry Dock rule are clearly

contrary to specific provisions of OPA. OPA contains its own limits of liability and its

own rules for lifting those limits, both of which are different from their analogues in

the Limitation of Liability Act. Compare 33 U.S.C. § 2704, with 46 U.S.C. § 30505.15

Likewise, § 2702(b)(2)(E) in OPA permits recovery of economic losses without physical

damage to a proprietary interest, which is contrary to the rule typically applied under

general maritime law. See Settoon Towing, 859 F.3d at 344-45, 352 (citing Louisiana


15
     As explained in the Senate’s Report on S. 686,

          The [Limitation of Liability Act] limits liability of owners or operators [of vessels] to
          the value of the vessel and the cargo after an incident has occurred. In today’s liability
          scheme, this approach appears dated and inconsistent with Congress’ repeated
          statements on the appropriate liability of parties. If applied to these circumstances,
          the 1851 statute virtually eliminates any meaningful liability on the part of the owner
          or operator and would unravel the balance of liability set forth herein. Therefore this
          bill completely supersedes the 1851 statute with respect to oil pollution.

S. Rep. No. 101-94, at 15 (1989), as reprinted in 1989 U.S.C.C.A.N. 722, 736.
                                                   18
  Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 19 of 28




ex rel. Guste v. M/V Testbank, 752 F.2d 1019, 1022 (5th Cir. 1985) (en banc)). Note

also that the Conference Report states that the “notwithstanding” clause in § 2702 is

intended to supersede “limitations” or “requirements” that would be imposed on oil

spill claims under pre-OPA law; it does not state that OPA supersedes all other laws

or is meant to provide the exclusive avenue of recovery.

      To summarize, the Conference Report tells us that § 2751(e) preserves existing

maritime law except where OPA contains a specific provision to the contrary. The

Report’s two examples of laws not preserved by the savings clause, as well as its

description of § 2702’s “notwithstanding” clause, illustrate what sort of laws Congress

viewed as “contrary” to OPA—laws that would impose additional limits or restrictions

on an OPA claim beyond what the Act already contains. This indicates that general

maritime law is not displaced when it merely overlaps with OPA. Accordingly, and

contrary to what may be implied in ACL and Settoon Towing, it does not appear that

Congress intended OPA to provide the exclusive remedy for damages covered by that

Act. Indeed, Congress knows how to make a statutory remedy exclusive when it

desires that result. See, e.g., Longshore and Harbor Workers’ Comp. Act, 33 U.S.C. §

905(a) (making an employer’s liability under the LHWCA “exclusive and in place of

all other liability of such employer to the employee . . . on account of such injury or

death.”).

      3.     Permitting a Foreign Claimant to Recover Under General Maritime Law
             Does Not Appear to Be Contrary to OPA

      Without a doubt, OPA specifically addressed foreign claimants. See 33 U.S.C.

§ 2707 (quoted in Part A., above). However, this should not be enough to conclude

                                          19
  Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 20 of 28




that OPA displaces the Mexican Plaintiffs’ claim under general maritime law, at least

not according to the Conference Report. The issue should turn on whether it would

be “contrary” to OPA to permit a foreign plaintiff who cannot satisfy the requirements

of § 2707 to pursue a claim and potentially recover under general maritime law. The

Court believes it would not be contrary.

      The intent of OPA was to expand, not contract, rights. Prior to OPA there

existed “a fragmented collection of Federal and State laws providing inadequate

cleanup and damage remedies . . . and substantial barriers to victim recoveries—such

as legal defenses, statutes of limitation, the corporate form, and the burdens of proof

that favor those responsible for the spill.” S. Rep. No. 101-94, at 2 (1989), as reprinted

in 1989 U.S.C.C.A.N. 722, 723. One of OPA’s goals was to cure these deficits in the

law. Thus, ‘“Congress intended OPA to allow a broader class of claimants to recover

economic losses than allowed under general maritime law.’” Settoon Towing, 859 F.3d

at 351 (quoting the B1 Order). As mentioned, OPA removed the Robins Dry Dock

prohibition against purely economic losses, superseded the Limitation of Liability

Act, and imposes strict liability on a responsible party. Furthermore, to help ensure

there would be sufficient funds to pay for oil spill cleanup and damages, OPA required

evidence of financial responsibility from responsible parties, and it created a direct

action against a responsible party’s “guarantor.” 33 U.S.C. §§ 2715, 2713(c). OPA also

established the $1 billion Oil Spill Liability Trust Fund (“the Fund”), which is

available to pay claims when funding from the responsible party was unavailable or

not forthcoming. Id. § 2713(d); see also ACL, 759 F.3d at 422-23. In light of this, it

seems odd to conclude that when Congress imposed special requirements on a foreign
                                           20
     Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 21 of 28




claimant’s ability to recover under OPA, it also meant to silently remove that

claimant’s ability to recover under any other law in the event those requirements

could not be satisfied. Cf. Townsend, 557 U.S. at 417 (supporting its conclusion that

the Jones Act does not displace the general maritime law remedy of punitive damages

for the willful failure to pay maintenance and cure by noting that the purpose of the

Jones Act “was to enlarge that protection [provided to seaman], not to narrow it.”);

Baker, 554 U.S. at 488-89 (“[W]e find it too hard to conclude that a statute expressly

geared to protecting ‘water,’ ‘shorelines,’ and ‘natural resources’ was intended to

eliminate sub silentio oil companies’ common law duties to refrain from injuring the

bodies and livelihoods of private individuals.”) (interpreting 33 U.S.C. § 1321).

        There are obvious advantages to suing under OPA as opposed to general

maritime law. A hypothetical private plaintiff who may sue under only general

maritime law:

        (1) does not enjoy OPA’s strict liability against the responsible party,
        (2) may not partake in the Fund as a possible alternative source of
            compensation,
        (3) does not have a direct action against the responsible party’s guarantor,
        (4) must satisfy the Robins Dry Dock rule, and
        (5) may have her recovery limited or barred entirely by the Limitation of
            Liability Act.16

It would clearly contravene OPA to allow a plaintiff who cannot satisfy OPA’s

requirements to reap its benefits, such as strict liability, partaking in the Fund, etc.

But it does not seem to contradict OPA or frustrate its remedial scheme to permit


16Also, this Court has repeatedly noted that it is unclear what causation standard applies to economic
loss claims under OPA § 2702(b)(2)(E). (See B1 Order at 32-33, Rec. Doc. 3830; Rec. Doc. 12055 at 23;
Rec. Doc. 15987 at 16). It is possible something less than proximate cause is required, whereas a
plaintiff relegated to suing under general maritime law would have to prove proximate cause. See 1
Thomas J. Schoenbaum, Admiralty and Maritime Law § 5:5 (6th ed. 2018).
                                                    21
     Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 22 of 28




that same plaintiff to recover under general maritime law, provided of course, that

she can overcome all of the obstacles that exist under maritime law.17

        4.      ACL’s and Settoon Towing’s Interpretations of § 2751(e) Appear to
                Render that Provision Meaningless

         If OPA’s savings clause is interpreted as meaning that it preserves only those

claims not addressed in OPA, then one may wonder what purpose the savings clause

serves. Some courts have proposed that maritime claims for personal injury due to

an oil spill and collision damage (i.e., damage to a vessel’s hull caused by a collision

that also results in an oil spill) are not displaced by OPA. See Metlife Capital Corp.,

132 F.3d at 822; Gabarick v. Laurin Maritime (America) Inc., 623 F. Supp. 2d 741,

745 (E.D. La. 2009); Nat’l Shipping Co. of Saudia Arabia v. Moran Mid-Atlantic

Corp., 924 F. Supp. 1436, 1447 (E.D. Va. 1996). This Court emphatically agrees that

such claims are not affected by OPA. However, this Court also believes that these

claims would persist even if OPA did not contain a maritime law savings clause, as

OPA simply did not address personal injuries or collision damages. If this is correct,

then it shows that interpreting OPA’s savings clause as meaning it only preserves

claims that are not addressed by OPA gives no meaning to the savings clause—the

same claims will be displaced or preserved regardless of whether Congress included

a maritime law savings clause or not.




17 This conclusion may be different if a plaintiff sought to recover from a responsible party whose
liability was capped under OPA. Under that circumstance, it could be argued that allowing a general
maritime law claim would frustrate Congress’ decision to limit a responsible party’s liability for oil
spill damages. But this is not clear, nor is this issue even remotely before the Court. Early in this
MDL, BP waived any right to limited liability it may have under OPA. (Rec. Doc. 559). The Court later
determined that BP’s conduct was such that OPA’s limits of liability do not apply. (See Rec. Doc. 13381-
1 ¶¶ 491, 499, 601).
                                                   22
  Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 23 of 28




       A statute should not be interpreted in a way that renders it “inoperative or

superfluous, void or insignificant.” Settoon Towing, 859 F.3d at 349 (quotations and

citation omitted). As explained above, Congress made a deliberate choice to include

maritime law savings clause in OPA. The Conference Report explains how that clause

should be interpreted. Not only does the interpretation applied in Settoon Towing and

ACL appear to be at odds with the Conference Report, it also appears to render the

savings clause superfluous. Section 2751(e) must preserve some general maritime

law claims even though they are addressed by OPA, otherwise the savings clause does

nothing.

      5.     General Maritime Law Is Not “Displaced” as Easily as Other, Non-
             Maritime Federal Common Law

      The last point is likely the least important, but deserves mention.

      ACL states, “Indeed, ‘we are to conclude that federal common law has been

preempted as to every question to which the legislative scheme spoke directly, and

every problem that Congress has addressed.’” 759 F.3d at 423. ACL was quoting a

Fifth Circuit decision from 1982, United States v. M/V Big Sam, 681 F.2d 432, 442

(5th Cir. 1982), which itself was quoting (and adopting) a Second Circuit decision, In

re Oswego Barge Corp., 664 F.2d 327, 335 (2d Cir. 1981). Big Sam and Oswego Barge

were actually providing the standard to determine whether a federal statute

displaces non-maritime federal common law. See Big Sam, 681 F.2d at 442. However,

those cases observed that “[i]n recognizing a substantial law-creating function for

federal courts in maritime law, the Supreme Court appears to have applied the

presumption of statutory preemption somewhat less forcefully to judge-made

                                         23
  Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 24 of 28




maritime law than to non-maritime federal common law.” Id. (quotations and

citations omitted; emphasis added). Big Sam/Oswego Barge concluded that

“determining whether non-statutory maritime law, as to both liabilities and

remedies, survives enactment of a statute requires a careful analysis of several

factors . . . .” Id. (quotations and citations omitted).

       Although it is not entirely clear what the Supreme Court’s current view of this

question is, it does appear that the issue of statutory displacement of general

maritime law is not as straightforward as ACL might suggest. Last year, the Supreme

Court considered whether the Jones Act—a statute that does not contain a savings

clause for maritime law, unlike OPA—displaces the maritime remedy of punitive

damages in a seaman’s cause of action for unseaworthiness. See Dutra Grp. v.

Batterton, 139 S. Ct. 2275 (2019). Batterton opens with the following remarks:

              By granting federal courts jurisdiction over maritime and
       admiralty cases, the Constitution implicitly directs federal courts sitting
       in admiralty to proceed in the manner of a common law court. Thus,
       where Congress has not prescribed specific rules, federal courts must
       develop the amalgam of traditional common-law rules, modifications of
       those rules, and newly created rules that forms the general maritime
       law. But maritime law is no longer solely the province of the Federal
       Judiciary. Congress and the States have legislated extensively in these
       areas. When exercising its inherent common-law authority, an
       admiralty court should look primarily to these legislative enactments for
       policy guidance. We may depart from the policies found in the statutory
       scheme in discrete instances based on long established history, but we
       do so cautiously in light of Congress’s persistent pursuit of uniformity in
       the exercise of admiralty jurisdiction.

Id. at 2278 (citations and quotations omitted). While this language plainly evinces

judicial deference to federal legislative enactments, it also admits that admiralty

courts “may depart from the policies found in the statutory scheme” under the

                                             24
  Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 25 of 28




appropriate circumstances. Batterton’s analysis similarly suggests that displacement

is a complex question in the maritime context. The Court noted there is “significant

overlap” between unseaworthiness and the Jones Act, and that the former “serves as

a duplicate and substitute for” the latter. Id. at 2282, 2286. If general maritime law

is displaced “as to every question to which the legislative scheme spoke directly, and

every problem that Congress has addressed,” then one would expect that Batterton

would have simply looked to whether punitive damages were available under the

Jones Act and, upon finding they were not, concluded that such damages were not

available under unseaworthiness. But this is not how the Supreme Court proceeded.

Rather, Batterton examined (1) whether punitive damages were historically available

for an unseaworthiness claim (and determined they were not), id. at 2283-84; (2) it

then considered whether punitive damages were necessary to “maintain uniformity

with Congress’s clearly expressed policies” in the Jones Act and FELA (and concluded

they were not), id at 2284-85; (3) finally, Batterton contemplated whether punitive

damages could be justified on policy grounds or as a regulatory measure (and

concluded they were not), id. at 2285-87.

      Did Batterton established a framework applicable to all future displacement-

of-maritime-law questions? This Court does not hazard a guess. But Batterton does

seem to support Big Sam/Oswego Barge’s proposition that “determining whether non-

statutory maritime law . . . survives enactment of a statute requires a careful analysis

of several factors . . . .” Similarly, Batterton’s rather complex approach to the problem

seems to cast doubt on ACL’s apparent view on the displaceability of general

maritime law.
                                            25
     Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 26 of 28




        6.       Closing Remarks

        The views in this Part D are dicta. As explained in Part B.3., the ACL and

Settoon Towing decisions compel this Court to conclude that the Mexican Plaintiffs’

general maritime law claims are displaced by OPA. The Court further notes that it

does not disagree with the outcomes in ACL and Settoon Towing.18 The Court only

questions one or two aspects of those decisions.

        Also, it should be noted that even if it were determined that OPA did not

displace the Mexican Plaintiffs’ claims under general maritime law, they would have

to overcome several other hurdles before they could recover. As noted in Part C, 41 of

the 115 Mexican Plaintiffs’ claims are barred for the additional reason that they did

not comply with PTO 60. Also, none of the Mexican Plaintiffs claim to have suffered

physical injury to a proprietary interest. Instead, all their hopes are pinned on the

“commercial fishermen exception” to the Robins Dry Dock rule. (See B1 Order at 19-

20, Rec. Doc. 3830). Although some courts, including this one, have recognized this

exception, the Fifth Circuit has yet to do so. See Testbank, 752 F.2d at 1021 n.2 (“The

rights of commercial fishermen who survived summary judgment are not before us.”).

Thus, even if some of the Mexican Plaintiffs were to prevail in this Court, it is likely

they would have to convince the Fifth Circuit to recognize the commercial fishermen

exception to Robins Dry Dock.




18 Using Settoon Towing as an example, it would be extremely odd for Congress to create a statutory
regime that permits plaintiffs to recover previously-unrecognized damages (purely economic losses),
makes a discharger strictly liable for those damages, and explicitly recognizes the discharger’s ability
to seek contribution from a third party who is actually at fault for causing those damages, yet does not
allow the discharger to recover those damages from the third party.
                                                   26
     Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 27 of 28




        Even assuming the Fifth Circuit would recognize the commercial fishermen

exception, some or perhaps all of the Mexican Plaintiffs may be excluded from this

exception. It may be the case, as pointed out by BP, that the commercial fishermen

exception only applies to those who routinely fished in waters closed by a government

entity. See State of Louisiana ex rel. Guste v. M/V Testbank, 524 F. Supp. 1170, 1174

(E.D. La. 1981), aff’d 752 F.2d 1019 (5th Cir. 1985) (en banc). If this is so, then it may

exclude all of the Mexican Plaintiffs from the commercial fishermen exception.19

Additionally, only 17 of the Mexican Plaintiffs purport to be individual commercial

fishermen; the rest are cooperatives. BP argues that the cooperatives cannot claim

the commercial fisherman exception because the cooperatives were not the ones that

actually fished. BP also contends that some of the cooperatives were tourism or

restaurant cooperatives, which are not remotely commercial fishermen. The Court

need not and does not decide any of these issues here, but notes that they have been

raised and are preserved.

        Finally, even those Mexican Plaintiffs that could overcome the above hurdles

would still have to show that their damages were proximately caused by the oil spill.

It is safe to say that this issue would be hotly contested by the defendants.

                                          CONCLUSION

        For the reasons set forth in Parts A, B, and C of the Discussion,

        IT IS ORDERED that BP’s Dispositive Motion as to the B1 Claims of the

Mexican Plaintiffs (Rec. Doc. 25477) is GRANTED.


19At oral argument, the Court asked the Mexican Plaintiffs’ attorneys if the Mexican government ever
closed Mexican fishing grounds following the oil spill. They were unsure if this occurred. (See
Transcript at 17, Rec. Doc. 26701).
                                                27
  Case 2:10-md-02179-CJB-DPC Document 26745 Filed 10/26/20 Page 28 of 28




     IT IS FURTHER ORDERED that all claims by the Mexican Plaintiffs, listed

in Exhibit A to this Order & Reasons, are DISMISSED WITH PREJUDICE.

     New Orleans, Louisiana, this 26th day of October, 2020.



                                    _______________________________________
                                         United States District Judge




                                       28
